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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

PETER ALLEN, et al.,

                    Plaintiffs,
                                            No. 19-CV-8173 (LAP)
-against-
                                                     ORDER
CARL KOENIGSMANN, et al.,

                    Defendants.

LORETTA A. PRESKA, Senior United States District Judge:

    The Court has received the parties’ letters dated June 16

and 17, 2023. (Dkt. nos. 610-14.) First, regarding the parties’

dispute over medical records production and witnesses for the

permanent injunction trial, the July 15 cut-off date discussed

in the June 13, 2023 telephone conference shall apply to medical

records only. At the permanent injunction trial, the parties may

use only those medical records produced before July 15. Any

medical records produced after July 15 may not be used by either

party. However, Plaintiffs may call witnesses whose records have

not been produced by July 15. In so ruling, the Court notes that

there has already been a delay in the medical records production

due to Dr. Moores’ objection. Were the Court to hold otherwise,

Defendants would be able to control the witnesses Plaintiffs can

call by adjusting the pace of medical records production before

July 15.




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    Second, regarding the parties’ dispute over incorporating

the preliminary injunction record into the permanent injunction

trial, pursuant to Fed. R. Civ. P. 65(a)(2), the evidence in the

preliminary injunction record shall be incorporated. While the

standards for granting relief differ between the preliminary

injunction hearing and the permanent injunction trial, any

questions as to the admissibility of the evidence remain the

same. The Court notes that though the preliminary injunction

hearing record shall be incorporated into the permanent

injunction trial record, the Court is not bound by any findings

of fact or conclusions of law made in its opinion granting the

preliminary injunction. University of Texas v. Camenisch, 451

U.S. 390, 394 (1981)

SO ORDERED.

Dated:       June 20, 2023
             New York, New York


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                               LORETTA A. PRESKA
                               Senior United States District Judge




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